                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA,                       )
                                                 )
 v.                                              )               Case No. 1:15-cr-39-CLC-SKL-1
                                                 )
 ROBERT R. DOGGART                               )
                                                 )
                                                 )

                                             ORDER

        Before the Court is a motion to compel discovery, with a supporting memorandum, filed

 by Defendant Robert R. Doggart (“Defendant”) [Docs. 137 & 138]. Defendant asks the Court to

 compel the following discovery pursuant to Fed. R. Crim. P. 16(a)(1)(E)(i): (1) any report by the

 Federal Bureau of Investigation (“FBI”) or other government agency addressing allegations that

 the community of Islamberg near Hancock, New York, poses a possible threat of terrorism, and

 (2) the discovery materials provided to defendant William Tint in Case No. 6:15-cr-368 in the

 United States District Court for the District of South Carolina [Doc. 137 at Page ID # 951]. The

 United States of America (“Government”) filed a response in opposition to the motion [Doc.

 140]. Defendant filed a reply [Doc. 143], and this matter is now ripe.

 I.     STANDARDS

        There is no general constitutional right to discovery in a criminal case, and Brady v.

 Maryland, 373 U.S. 83 (1963), did not create one. Weatherford v. Bursey, 429 U.S. 545, 559

 (1977). Federal Rule of Criminal Procedure 16 provides a mechanism for pretrial discovery and

 inspection. See United States v. Turner, 274 F. Supp. 412, 417 (E.D. Tenn. 1967). Rule 16

 provides in pertinent part that

                [u]pon a defendant’s request, the government must permit the
                defendant to inspect and to copy or photograph books, papers,




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                documents, data, photographs, tangible objects, buildings or
                places, or copies or portions of any of these items, if the item is
                within the government’s possession, custody, or control and . . . the
                item is material to preparing the defense.

 Fed. R. Crim. P. 16(a)(1)(E)(i).

        To obtain requested discovery under Rule 16, the defendant must make a prima facie

 showing of materiality. United States v. Gibbs, 646 F. App’x 403, 412 (6th Cir. 2016) (quoting

 United States v. Lykins, 428 F. App’x 621, 624 (6th Cir. 2011); United States v. Phillip, 948 F.2d

 241, 250 (6th Cir. 1991). The United States Supreme Court has concluded that “defense” under

 Rule 16(a)(1)(E)(i) means “a defendant’s response to the Government’s case in chief.” Gibbs,

 646 F. App’x at 412 (quoting United States v. Robinson, 503 F.3d 522, 531 (6th Cir. 2007)

 (internal quotation marks omitted). “In assessing materiality, [the court] consider[s] the logical

 relationship between the information withheld and the issues in the case, as well as the

 importance of the information in light of the evidence as a whole.” Lykins, 428 F. App’x at 624.

 “A district court does not abuse its discretion in denying discovery when the discovery requested

 would be irrelevant[.]” United States v. Rankin, No. 16-3047, slip op. at 4 (6th Cir. Oct. 31,

 2016) (quoting United States v. Dairy Farmers of Am., Inc., 426 F.3d 850, 862 (6th Cir. 2005)).

 II.    ANALYSIS

        Defendant is charged in a four-count Superseding Indictment alleging solicitation to

 commit a civil rights violation and solicitation to commit arson of a building pursuant to 18

 U.S.C. §§ 373 and 247, plus communicating threats on two different dates in interstate

 commerce in violation of 18 U.S.C. § 844(e) [Doc. 84]. As pertinent, Count One charges

 Defendant with soliciting another person “to intentionally damage and destroy religious real

 property, and attempt to do so, because of the religious character of that property, that is, a

 mosque in the state of New York” in violation of 18 U.S.C. § 247(a)(1) and § 373 [id. at Page ID
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 # 437]. The “because of” language in the motive element of § 247(a)(1) requires a showing of

 but-for causation as to Defendant’s motivation, meaning “the straw that broke the camel’s back.”

 United States v. Miller, 767 F.3d 585, 591-592 (6th Cir. 2014); see also Burrage v. United

 States, 134 S. Ct. 881, 888 (2014). “The general rule in criminal cases is that ‘intent may be

 inferred from the totality of circumstances surrounding the commission of the prohibited act.’”

 United States v. Al–Zubaidy, 283 F.3d 804, 809 (6th Cir. 2002) (quoting United States v.

 Stagman, 446 F.2d 489, 493 (6th Cir. 1971)). Evidence is relevant if it tends to make a fact more

 or less probable than it would be without the evidence. Fed. R. Evid. 401.

        A.     ISLAMBERG INVESTIGATION REPORTS

        Defendant argues that evidence of any investigation of Islamberg as a possible terrorist

 location or threat by the FBI or other governmental agency is material to Defendant’s defense

 because such evidence would support the reasonableness of his “concern about a possible link

 between Islamberg and terrorism” and that his “concern had to do with terrorism and not

 religion” [Doc. 138 at Page ID # 958]. The Government argues that any information unknown to

 Defendant at the time of the charged conduct is not relevant and thus not material to preparing

 his defense under Rule 16 [Doc. 140 at Page ID # 964].

        The Government contends that to prove Defendant solicited another person to destroy the

 mosque in Islamberg “because of” the mosque’s religious character, it must prove the attack

 would not have occurred “but for” the mosque’s religious character [Doc. 140 at Page ID # 966].

 The Government explains that it will use Defendant’s recorded statements (and social media

 posts) as evidence of Defendant’s motive to target and burn down the mosque [id.].1 The


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  In previous orders, the Court set forth the alleged facts surrounding this matter, and the Court
 incorporates by reference, but will not recite, those facts herein [Doc. 146; see also Doc. 131,
 adopted by Doc. 146].
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 Government concedes that “Islamberg has been the subject of repeated internet rumors

 concerning allegations that the community is connected to terrorist activities” and that some of

 these internet sources “also reported that local, state and federal agencies have investigated the

 community for possible ties to terrorism” [id.]. The Government also agrees that any personal

 knowledge that Defendant had of such internet sources is relevant to Defendant’s motivation.

 However, the Government argues that evidence from investigative agencies about whether they

 actually investigated Islamberg and the outcome of any such investigation that was unknown to

 Defendant at the time of his alleged criminal conduct, is not relevant to Defendant’s belief,

 motivation, or intent at the time of the charged conduct [id. at Page ID # 967].

        In his reply, Defendant contends that any evidence of the Government’s investigation of

 Islamberg is a “highly relevant circumstance” surrounding his conduct from which the jury could

 determine his intent [Doc. 143 at Page ID # 978]. Defendant argues that, if the circumstances

 surrounding his conduct show “widespread concern about the possibility that Islamberg was a

 terrorist front,” then such circumstances would support a conclusion that Defendant’s concerns

 pertained “to a building that was a possible source of terrorist activity.” [Id.].

        Defendant cites to Sixth Circuit Pattern Jury Instruction 2.08 to support his contention

 that the alleged reports are relevant to his intent, but Instruction 2.08 is unavailing. This pattern

 jury instruction provides, in relevant part, that “a defendant’s state of mind can be proved

 indirectly from the surrounding circumstances. . . . [which] includes things like what the

 defendant said, what the defendant did, how the defendant acted, and any other facts or

 circumstances in evidence that show what was in the defendant’s mind.” Pattern Crim. Jury

 Instr. 6th Cir. 2.08 (2013 ed.).    Contrary to Defendant’s contention, Instruction 2.08 actually

 supports the Government’s position that what is relevant and material to determine Defendant’s


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 motive or intent at the time of the charged conduct is the evidence and circumstances that show

 what was in Defendant’s mind—i.e., the information that Defendant was aware of at the time of

 the charged conduct.

        The Count finds that the requested reports of any governmental investigation that

 Defendant had not seen at the time of his alleged conduct could not form the basis of

 Defendant’s motive and, thus, is not relevant or material to Defendant’s preparation of his

 defense.    See United States v. Jack, 263 F.R.D. 640, 644 (E.D. Cal. 2010) (holding that

 defendants failed to establish the materiality of a “genocide order” sought from the government

 because what was relevant to establish a “defense of others” defense was the defendants’ own

 state of mind when they acted, not what was later discovered to exist in government files); see

 also United States v. Secord, 726 F. Supp. 845, 848-49 (D.D.C. 1989) (“To affect Defendant’s

 state of mind, his specific intent, a piece of information must have been perceived by him

 personally, or been conveyed to him via his contacts in the Executive Branch. . . . The point is

 simply that Defendant’s state of mind can come only from what he hears or sees.”).2

        The Court concludes that Defendant has not carried his burden to establish that reports of

 any investigation of Islamberg as a terrorist location or threat are material to his defense.

 Accordingly, the aspect of Defendant’s motion seeking to compel any such reports is DENIED.

        B.      DISCOVERY MATERIALS PROVIDED TO MR. TINT

        Defendant also argues that he is entitled to receive a copy of the discovery materials

 provided to William Tint in the criminal case pending against Mr. Tint in the United States

 District Court for the District of South Carolina (Case No. 6:15-cr-368). Mr. Tint was initially


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  The Court of Appeals for the District of Columbia in United States v. Sun-Diamond Growers of
 California, 138 F.3d 961, 964 (D.C. Cir. 1998), declined to follow Secord on other grounds;
 however, Secord remains good law for the proposition cited herein.
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 named in the criminal complaint in this matter, but he was not named as a defendant in the

 pending Superseding Indictment. Defendant contends that because the Government views the

 case against Mr. Tint and the case against Defendant as intertwined and because certain

 information pertinent to Defendant’s case was provided to Mr. Tint, Defendant should receive

 access to the discovery from Mr. Tint’s case [Doc. 137 at Page ID # 951-52]. In its response, the

 Government assures Defendant that it will comply with all of its disclosure obligations under the

 Jencks Act and Brady (and its progeny), and that it has no plans to deviate from its practice of

 providing these materials well in advance of trial [Doc. 140 at Page ID # 971]. In his reply,

 Defendant appears to concede that such Government’s assurances alleviate his primary concern

 and reason for requesting the discovery from Mr. Tint’s case [Doc. 143 at Page ID # 979].

           Based on the parties’ representations, it appears the request for discovery materials

 provided to Mr. Tint has been resolved based on the Government’s assurance that it will comply

 with all of its disclosure obligations under the Jencks Act and Brady. As a result, the aspect of

 Defendant’s motion to compel discovery provided to Mr. Tint is DENIED AS MOOT.

    III.      CONCLUSION

           Accordingly, for the reasons explained herein, Defendant’s motion to compel discovery

 [Doc. 137] is DENIED.

           SO ORDERED.

           ENTER:

                                              s/fâátÇ ^A _xx
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE




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